USCA4 Appeal: 25-1575  Doc: 38 Date Filed
         2:25-cv-02152-RMG           Filed:06/05/25
                                            06/05/2025EntryPg: 1 of 7 166
                                                            Number                 Page 1 of 7




                                                                            FILED: June 5, 2025

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 25-1575
                                         (2:25-cv-02152-RMG)


         THE SUSTAINABILITY INSTITUTE; AGRARIAN TRUST; ALLIANCE FOR
         AGRICULTURE; ALLIANCE FOR THE SHENANDOAH VALLEY; BRONX
         RIVER ALLIANCE; CLEANAIRE NC; CONSERVATION INNOVATION
         FUND; LEADERSHIP COUNSEL FOR JUSTICE AND ACCOUNTABILITY;
         MARBLESEED; PENNSYLVANIA ASSOCIATION FOR SUSTAINABLE
         AGRICULTURE;      RURAL      ADVANCEMENT       FOUNDATION
         INTERNATIONAL-USA; ORGANIC ASSOCIATION OF KENTUCKY;
         EARTH ISLAND INSTITUTE,

                      and

         BALTIMORE, MARYLAND; COLUMBUS, OHIO; MADISON, WISCONSIN;
         NASHVILLE, TENNESSEE; NEW HAVEN, CONNECTICUT; SAN DIEGO,
         CALIFORNIA,

                             Plaintiffs – Appellees,

                      v.

         DONALD J. TRUMP, in his official capacity as President of the United States;
         KEVIN HASSETT, in his official capacity as Assistant to the President for
         Economic Policy and Director of the National Economic Council; UNITED
         STATES OFFICE OF MANAGEMENT AND BUDGET; RUSSELL VOUGHT, in
         his official capacity as Director of the United States Office of Management and
         Budget; UNITED STATES ENVIRONMENTAL PROTECTION AGENCY; LEE
         ZELDIN, in his official capacity as Administrator of the United States
         Environmental Protection Agency; UNITED STATES DEPARTMENT OF
         AGRICULTURE; BROOKE ROLLINS, in her official capacity as Secretary of
         Agriculture; UNITED STATES DEPARTMENT OF TRANSPORTATION; SEAN
         DUFFY, in his official capacity as the Secretary of the United States Department of
         Transportation; UNITED STATES DEPARTMENT OF GOVERNMENTAL
         EFFICIENCY SERVICE; AMY GLEASON, in her official capacity as Acting
         Administrator of the United States DOGE Service; ELON MUSK, in his official
USCA4 Appeal: 25-1575  Doc: 38 Date Filed
         2:25-cv-02152-RMG           Filed:06/05/25
                                            06/05/2025EntryPg: 2 of 7 166
                                                            Number                    Page 2 of 7




         capacity as Senior Advisor of the United States DOGE Service; UNITED STATES
         DEPARTMENT OF ENERGY; CHRIS WRIGHT, in his official capacity as the
         Secretary of the United States Department of Energy,

                              Defendants – Appellants.



                                                     ORDER


                Pending before the Court is the Government’s Emergency Motion for Stay Pending

         Appeal and Immediate Administrative Stay. Plaintiffs are several nonprofit organizations

         and municipalities who allege they were awarded, or are subrecipients on, 38 federal grants

         administered by the Department of Energy, the Environmental Protection Agency, the

         Department of Agriculture, and the Department of Transportation. Plaintiffs sued the

         President of the United States and various federal agencies and officials (collectively, the

         Government) in the United States District Court for the District of South Carolina, alleging

         that their grants were terminated or suspended in violation of the Administrative Procedure

         Act (APA), certain appropriations statutes, and the Constitution.         Plaintiffs sought

         preliminary and permanent injunctive relief. The Government argued the district court

         lacked jurisdiction to order such relief.

                The district court held that it possessed jurisdiction over Plaintiffs’ claims and

         entered injunctive relief as to 32 of the grants—a permanent injunction on the APA claims

         and a preliminary injunction on the separation of powers and Presentment Clause ultra

         vires claims. The injunctions order the Government “to restore Plaintiffs[’] access to grant

         funds immediately” and prohibit the Government from “freezing, terminating or otherwise



                                                       2
USCA4 Appeal: 25-1575  Doc: 38 Date Filed
         2:25-cv-02152-RMG           Filed:06/05/25
                                            06/05/2025EntryPg: 3 of 7 166
                                                            Number                    Page 3 of 7




         interfering with the funding of [those] Grants . . . without written authorization from the

         Court.” Sustainability Inst. v. Trump, No. 2:25-cv-2152-RMG, 2025 WL 1486979, at *4,

         *10 (D.S.C. May 20, 2025).

                The Government now asks us to stay the district court’s injunctions pending appeal,

         raising purely jurisdictional concerns. Among other things, the Government contends that

         the Tucker Act, 28 U.S.C. § 1491, requires Plaintiffs to pursue their claims in the Court of

         Federal Claims and thereby precludes district court jurisdiction.

                We agree the Government is “likely to succeed” in showing that the district court

         lacked subject matter jurisdiction over Plaintiffs’ claims. See Nken v. Holder, 556 U.S.

         418, 426 (2009) (internal quotation marks omitted). This case is much like Department of

         Education v. California, 145 S. Ct. 966 (2025). The plaintiffs there challenged, under the

         APA, the cancellation of grants that were funded generally by an authorizing statute but

         awarded specifically to each grantee by an operative grant agreement. See California v.

         Dep’t of Educ., 132 F.4th 92, 95 (1st Cir. 2025) (citing 20 U.S.C. §§ 1022a, 6671, 6672(a),

         which authorize the Secretary of Education to award grants). They obtained an injunction

         which set aside the grant cancellations and prohibited the Government from “suspen[ding]

         or withholding . . . any funds approved and obligated for the grants.” California v. Dep’t

         of Educ., No. 25-10548-MJJ, 2025 WL 760825, at *5 (D. Mass. Mar. 10, 2025). The

         Supreme Court stayed the district court’s injunction because the Government was “likely

         to succeed in showing the District Court lacked jurisdiction to order the payment of money

         under the APA.” California, 145 S. Ct. at 968. As the Supreme Court explained, “the

         APA’s limited waiver of immunity does not extend to orders ‘to enforce a contractual


                                                      3
USCA4 Appeal: 25-1575  Doc: 38 Date Filed
         2:25-cv-02152-RMG           Filed:06/05/25
                                            06/05/2025EntryPg: 4 of 7 166
                                                            Number                    Page 4 of 7




         obligation to pay money’ along the lines of what the District Court ordered.” Id. (quoting

         Great-West Life & Annuity Ins. v. Knudson, 534 U.S. 204, 212 (2002)). “Instead, the

         Tucker Act grants the Court of Federal Claims jurisdiction over suits based on ‘any express

         or implied contract with the United States.’” Id. (quoting 28 U.S.C. § 1491(a)(1)).

                The Plaintiffs here assert similar claims. They allege the Government violated the

         APA by suspending and canceling certain grants funded and authorized by omnibus

         appropriations statutes like the Inflation Reduction Act of 2022, Pub. L. 117-169, and the

         Infrastructure Investment and Jobs Act, Pub. L. 117-58. Like the plaintiffs in California,

         Plaintiffs here contend that their “dispute does not hinge on the terms of a contract between

         the parties.” California, 2025 WL 760825, at *1; see also California, 132 F.4th at 97. Yet

         like the grants in California, the grants here were awarded by federal executive agencies

         to specific grantees from a generalized fund. While the appropriation statutes authorize

         the agencies to award grants, it is the operative grant agreements which entitle any

         particular Plaintiff to receive federal funds.

                The district court relied on Bowen v. Massachusetts, 487 U.S. 879 (1988), in

         exercising jurisdiction over Plaintiffs’ claims. See Sustainability Inst. v. Trump, No. 2:25-

         cv-2152-RMG, 2025 WL 1486978, at *3–5 (D.S.C. Apr. 29, 2025). But the Supreme Court

         distinguished Bowen in California, highlighting the meaningful difference between the

         relief in that case and an order “to enforce a contractual obligation to pay money” along

         the lines of what the district court entered here. California, 145 S. Ct. at 968 (internal

         quotation marks omitted). And it appears unlikely that Plaintiffs’ ultra vires claims, which

         allege the Government violated the Constitution when it terminated or suspended


                                                          4
USCA4 Appeal: 25-1575  Doc: 38 Date Filed
         2:25-cv-02152-RMG           Filed:06/05/25
                                            06/05/2025EntryPg: 5 of 7 166
                                                            Number                    Page 5 of 7




         Plaintiffs’ grants, would provide a detour around the Tucker Act. See Armstrong v.

         Exceptional Child Center, Inc., 575 U.S. 320, 327–328 (2015) (“The power of federal

         courts of equity to enjoin unlawful executive action is subject to . . . implied statutory

         limitations,” and “the ‘express provision of one method of enforcing a substantive rule

         suggests that Congress intended to preclude others.’” (quoting Alexander v. Sandoval, 532

         U.S. 275, 290 (2001)); see also Bd. of Governors of Fed. Reserve Sys. v. MCorp Fin., Inc.,

         502 U.S. 32, 43–44 (1991); Widakuswara v. Lake, No. 25-5144, 2025 WL 1288817, at *5

         (D.C. Cir. May 3, 2025) (staying injunction in a similar case raising APA claims and

         “mandamus, impoundment, Presentment Clause, Appropriations Clause, Spending Clause,

         Take Care Clause, Separation-of-Powers, and ultra vires claims”).

                As for the remaining stay factors, the Government has demonstrated irreparable

         harm because it is being forced to disburse funds from a finite appropriation and will not

         be able to recoup those funds once expended. See California, 145 S. Ct. at 969. While we

         do not doubt that a stay would work a hardship on Plaintiffs, the existence of burdens on

         each side points back to the preeminence of the likelihood-of-success inquiry, which in this

         case favors the Government. See Nken, 556 U.S. at 434 (“The first two factors of the

         traditional [stay] standard are the most critical.”).

                We therefore grant the Government’s motion for a stay of the permanent injunction

         and the preliminary injunction pending this appeal. We deny the Government’s motion for

         an administrative stay as moot. The Clerk will set an expedited briefing schedule.

                Entered at the direction of Judge Rushing, with the concurrence of Judge Niemeyer.

         Judge Heytens filed a separate dissenting opinion.


                                                        5
USCA4 Appeal: 25-1575  Doc: 38 Date Filed
         2:25-cv-02152-RMG           Filed:06/05/25
                                            06/05/2025EntryPg: 6 of 7 166
                                                            Number                        Page 6 of 7




         TOBY HEYTENS, Circuit Judge, dissenting:

                I would deny the motion for a stay pending appeal because I think the defendants

         have failed to carry their “burden of showing that the circumstances justify” one. Nken v.

         Holder, 556 U.S. 418, 434 (2009). At this stage, the defendants do not challenge the district

         court’s conclusion that they acted unlawfully, choosing instead to go all-in on the argument

         that the court lacked jurisdiction. I think the jurisdictional questions here are novel and

         difficult, and that they could end up being resolved in favor of either party after full briefing

         and argument. At this point, however, I do not believe the defendants have made a

         sufficiently “strong showing” that they are “likely to succeed on the merits” to warrant the

         extraordinary equitable relief of a stay pending appeal. Id.

                Nor do I think this case is on all fours with Department of Education v. California,

         145 S. Ct. 966 (2025). True, there are obvious similarities between the two cases and much

         of what the Supreme Court said there seems applicable here. But there are differences too.

         In California, “the terms and conditions of each individual grant award” were “at issue.”

         California v. U.S. Dep’t of Educ., 132 F.4th 92, 96–97 (1st Cir. 2025). Here, in contrast,

         the plaintiffs argue that the defendants “have not undertaken an individualized review of

         the specific grants” but “categorically terminate[d] all ‘equity-related’ grants and

         contracts” without individualized regard to the terms of any grant or the performance of

         any grantee. Resp. Br. 8 (emphasis added) (first quote); Compl. ¶ 196 (second quote). In

         California, the plaintiffs’ claims all “derived from the Administrative Procedure Act,”

         132 F.4th at 97, and the Supreme Court’s order never mentions any other claims. Here, in

         contrast, the plaintiffs assert non-APA claims, and the district court made a preliminary


                                                        6
USCA4 Appeal: 25-1575  Doc: 38 Date Filed
         2:25-cv-02152-RMG           Filed:06/05/25
                                            06/05/2025EntryPg: 7 of 7 166
                                                            Number                     Page 7 of 7




         determination that those claims have merit. The defendants insist that the plaintiffs’ non-

         APA claims improperly seek to circumvent “congressionally imposed limitations on

         [judicial] review” and thus fail for that reason. Reply Br. 9. But, once again, I do not think

         that the defendants have shown that the answer is sufficiently clear to warrant the

         disfavored remedy of a stay pending appeal.




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